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          Request for Authorization to bring electronic device(s) into the
          United States District Court for the Eastern District of Virginia
         The following named person(s) is authorized to bring the below described
  electronic device(s) into the United States District Court for the Eastern District of
  Virginia on the date(s) specified:

          Authorized Person(s):       Heidi K. Durr(Attomeyl. Clay J. Rollins rAttomey^

                                       John B. Flood (Attomey),

                                      Susan L. Homeker(Paralegal)

          Electronic Device(s):

                                                                        cords




          Purpose and Location
          Of Use:                     Judge Brinkema's division for use at trial


          Case No.:                   l:18-cv-37-LMB


          Date(s) Authorized:         10/31/18-11/2/18


          IT Clearance Waived:                .(Yes)           J/_(No)

                                      APPROVED BY:

                                             Leonie M.Brinkema
  Date:     Jo                               United States District Judge
                                      United States District/Magistrate/Bankruptcy Judge


  A copy of this signed authorization must be presented upon entering the courthouse.


 IT Clearance:
                                IT Staff Member                                    Date(s)


 IT clearance must be completed, unless waived, before court appearance.
